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                         SO U TIIERN D ISTR IC T O F FLO R ID A            FILED BY                  D,C,

                          FOR T LA U D ERD A LE D IV ISIO N                      2E2 16 2218
                                                                                 ANGELA E.NOBLE
                                                                                cLEF?K tJ.S.DIST, CT.
 M AR LO W E D .R O BIN SON ,                                                  s,D.(JF Fim ..FT. LAUD.

                         Plaintiff,
  V S.                                                 C ase N O.TBA

 BR O W A RD C OU N TY SCH O O L D ISTRICT.
                        D efendant.
                      .
                                                   /

                                  C O M PL A IN T
               Tlzis is an action w hich arises under the Fam ily M edical Leave A ct

 (FM LA),29 USC j2601,etseq;theAmericanswith DisabilitiesAct(''ADA'')42
 U.S.C.j 12ll1;and claim sdamagesin excessof$15,000.00 exclusiveoffeesand
 costs.

         2. ThisCourthasjurisdictionto heartheseclaim s.
               A ta11tim es m aterialhereto Plaintiffw ms a U nited StatesM ilitary

 service veteran.

         4.    A talltim esm aterialhereto Plaintiffis an individualand also w as an

 kûeligible em ployee,''w ithin the m eaning ofthe FM LA ,ata11tim es relevantto this

 Com plaint.

               Ata11timesmaterialheretoDefendantlslwasan tçemployery''within
 the m eaning ofthe FM LA ,atal1tim esrelevantto tlzisCom plaint.
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       6.    At a11times matelialhereto,the defendants,et.al.,acted jointly,in       4


 concert and as agents of one another concerning the m atters alleged herein, and

 further ratified the wrongful acts of each other by, inter alia,know ingly acting

 togetherto deprive plaintiffofthe benetks ofthe statutory provision of1aw as set

 forth below and in retaliation as a result of plaintiff having reported im proper

 govem m entalactivitiesand forhaving refused to obey an illegalorderordirective.

              On oraboutApril7,2017,Petitioner filed a charge ofdiscrim ination

 with theFlorida Com m ission on Hum an Relationswhich allegedthatSBBC,et.seq.,

 violated petitionerbased upon thathewasnotprovided theapprovedjob title and
 w age increase as a resultofdiscrim ination on the basis of his alleged tardiness due

 tohisknownm edicaldisabilityties).
       8.    O n or about July 18,2018,the Florida D epartm ent of A dm inistm tive

 Hearings held a finalhearing upon plaintiffs com plaint and determ ined that an

 unlaw fulem ploym entpracticehad notoccurred.

       9.     Plaintiff alleges that ltis im m ediate supervisor, Richard J. V olpi

 retaliated againsthim in breaching his fiduciary duty by failing to properly pursue

 plaintifF sgrievances orreferthe sam e to a fairarbiter.

       10. Petitionerw orked for BCSD for approxim ately 20 years prior to the

 term ination ofhisem ploym enton M ay 9,2018. Petitioner was em ployed as the
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 Head Facility Serd ceperson atBCSD'Softk e in the K atherine C.W rightBuilding

 (''KCW '')
                On oraboutFebruary 18,2016,PetitionerGlednum erousintem allabor

 grievanceallegationspm suantj 447.401,Florida Stamte(2017)(SBBC grievance
 procedures)againsthisimmediate supervisor,M r.Richard J.Volpiincluding but
 notlimitedtospecifedFamily andM edicalLeaveAct(''FM LA'')violations;and as
 retaliation for plaintiff s Gling the sam e priorgrievances.

                Plaintiff w as 44 years old at the tim e of his term ination,has a 12th

 gradeeducation,andearned$26.12perhouraAer20yearsinthesamejob.
          16. Priorto histerm ination,Plaintiffw asneverprovided a fairinterm ediary

 forevaluation ofthe disciplinary conductim plem ented by hisim m ediatesupervisor,

 Richard V olpi,foralleged tardiness orunexcused absence te oughoutthe course of

 his em ploym ent.

          17. Plaintiffs em ploym entatSBB C w as term inated on M ay 9,2018.

          18. PlaintiF speaksEnglish pro/ciently.

          19. Plaintiffs grievances w ere notreview ed by an independentarbiterbut

 instead the grievances were review ed and exam ined by plaintiffs supervisor M r.

 Volpi,theprincipleaccusedofplaintiffscomplaintts)allegations.M .
                                                                r.Volpidenied
 them .




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       20. B row ard C ounty Public Schools operates over 327 structuralfacilities

 w hich isin the business ofeducation centers.

       21. At a11tim es m aterial and relevant,defendant's employed m ore than

 34,000 em ployees.

       22. Itisundisputed thatDefendantisan em ployercovered by theFM LA .

       23. Itisundisputed thatPlaintiffworked m orethan 2,080 hourspriorto his

 tim e offin 2016.

       24. On August 24, 2017, Plaintiff subm itted a form al dem and for

 arbitration perform ance according to the Em ployee & Labor Relations D epm m ent

 Policy,A rticle 5 & 6.

       25. PlaintiF assertsthatSCSB failed to invoke orreco> ize the arbitration

 requestasprovided forin theCollectiveBargaining Agreem entbetween the parties.

       26. On oraboutJuly 18th,in Tallahassee and LauderdaleLakes,Florida,a

 FinalH earing by the FloridaD epartm entofA dm inistrative H earingsw asconducted.

 The pum ose ofthe hearing was to determ ine whetherthe Plaintim M r.Robinson,
 was unlaw fully discrim inated againstby his em ployer,the Defendant,b% ed upon

 his disability;and retaliation forcom plaining aboutdiscrim ination in the w orkplace

 in violation ofChapter760 oftheFlorida Statutes,the FloridaCivilRightsAct.

       26. M arlowe Robinson waspresentand unrepresented by counsel.




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       27. The D efendants,M ichaelElkins,Esquire, of Brian M iller O live, on

 behalf of the Brow ard School D istrict, ltichard V olpi, G ilbert Charispin,

 Com pliance Adm inistratorw ith the Broward County SchoolDistrict.

 D ISPU TED FA C T S

 SeriousM edicalCondition.

       28.Plaintiffassertsthathe had m ultiple seriousand chronic health conditions

 involving continuing treatm ent,including the follow ing'
                                                         .sleep apnea,hypertension,

 PTSD ,spinalstenosis,knee condition.

       30. Petitioner asserts that at alltim es relevant he notified his supervisor,

 R ichard J.V olpiofhis possible tardiness of absence via em ails and/or screenshots

 text(SM S)messages'.
       31. Further,thathe had significantdifficulty sleeping,suffered PT SD and

 underw ent surgery on his left w rist. H is im m ediate supervisor saw plaintiff s

 surgicalscar.

       32. M n Robinson,w ho w asin hisearly tw enties,w mstreated by D r.Sandra

 R om ain atthe V eteransH ospital,Sunrise,FL atleast20 tim esform ultiple illnesses

 betw een A pril 1995 to present.




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 PLM N TIFF'S C LM M FO R W A G E S O W ED .

              PlaintiF asserts thatD efendantdid notpay w ages for w orking out of

 clmssification for the period from 2010 to 2018 or for any tim e,after Plaintiff filed

 thislaw suit.

       34. W hether there was any settlem ent concem ing paym ent of unpaid

 classification w ages and related am ounts stillow ed to Plaintiff atthe tim e he tsled

 this law suit,rem ains disputed,as does any entitlem entto attom eys'feesrespecting

 those claim s.

       35. Plaintiffalso seeksthe perm ission to am end thiscom plaint'
                                                                      ,

       36. Plaintiff seeksthe follow ing relief;

              a.    Punitive dam ages forw rongfulterm ination;

              b.    Com pensatory dam ages for actual discrim ination as set forth

 herel
     *n,
       .

              C.     C om pensatory dam ages forw orking outofclmssification;

              d.    Entitlem entto attorneys'fees,ifany.

 STA'I'E OF FLORIDA )
                    )
 COUNTY OF BROW ARD )
       BEFORE M E the undersigned authority,personally appeared M arlowe D .

 R obinson,w ho ispersonally know to m e orhaspresented hisFlorida D riverLicense




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         N um ber- W 52-544-73-425-0,as identitk ation,and statesthatthe foregoing facts

          and statem entsaretrue and correct.                                      y o,o
                                                                        b gA m
          SWORN AND SUBSCRIBED TO thisdayof 1/*31                                                        ,   2019.

          M Y COM M ISSION EXPIRES:

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                                                                            Lauderhill,Florida 33319
                                fi             /          V
                                                                            Email:marloloz@yahoo.com
                                                                            Telephone:(954)934-4542




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 eEocForn,s1(:1/,6)                  U.S.EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                             D ISMISSAL AND NOTICE OF RIGHTS
T0: M r.M arlow e Robinson                                                       From: M iam iDistrictO ffice
    4920 NW 73 Ave.                                                                    M iam iTower,1Q0 S E 2nd Street
    FortLauderdale,FL 33319                                                            Suite 1500
                                                                                       M iam i,FL 33131


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                         CONFIDXNTIAL(29CFRj.!#.
                                               0r.7(a))
 EEOC Clnarge No.                          EEOC Representative                                                Telephone No.
                                           Ina Depaz,
 15D-2017-00512                            State & LocalCoordinator                                           (305)808-1752
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOW ING REASON:
               The facts all
                           eged in the charge failto state a claim tlnderany Ofthe statutes enforced by the EEOC.

               Yourallegations did notinvolve a disabilityas defi
                                                                ned by the Americans W i
                                                                                       th Disabilities Act.

               The Respondentemploys less than the required numberofem ployeesoris nototherwise covered by the statutes.

               Your charge was nottimely filed wi
                                                th EEOC:in otherwords,you waited too long after the datets)ofthe all
                                                                                                                   eged
               discriminatiGn to file yourcharge
               The EEOC isstles the following determination: Based upon its investigation.the EEOC is unable to conclude that the
               information obtained establishes violations ofthe statutes. This does notcedi
                                                                                           fy thatthe respondentis in com pliance wi
                                                                                                                                   th
               the statutes. No finding is made as to anyotherissuesthatmightbe construed as having been raised bythis charge.
      X        TheEEOC hasadopted thefindingsofthestateorIocalfairemploym entpracticesagencythati          nvesligated thischarge.

               Other(brieîlystate)
                                                   -   NOTIC E O F SUIT RIGHTS -
                                          (See l/pe additi
                                                         onal?
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Title VII,the Am ericans w ith Disabilities Act,the Genetic Inform ation Nondiscrim ination Act, orthe Age
Discrimination in Em ploym entAct:Thiswillbe the only notice ofdismissaland ofyourrightto sue thatwe willsend you                   .

You m ay file a Iawsuitagainstthe respondentts)underfederal1aw based on thischarge in federalorstate coud. Your
lawsuitm ustbefiled W ITHIN 90 DAYS ofyourreceiptofthis notice'    joryourr ightto sue based on thischarge willbe
Iost.(ThetimeIimitf0rfillngSultbasedon aclafm underStateIaw maybedlfferent)
EqualPayAct(EPA):EPA suitsmustbefiledinfederalorstatecoudwithin 2years(3yearsforwillfulviolati
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                                                         ''
                                                            V DistrictDirector
                                                            '




          Brow ard c ounty schoosD istrict     '
          c/o Mr.W ladim irG.Alvarez,Director,EEO/ADA
          com pliance
          600 SE Third Avenue
          FortLauderdale,FL 33301
